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 8                       United States District Court

 9                      Eastern District of California

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12   United States of America,

13              Plaintiff,             No. 05-196 PAN

14        vs.                          Detention Order

15   Louis Wayne Fowler,

16              Defendant.

17                                    -oOo-

18   A.   Order For Detention

19        After conducting a detention hearing pursuant to 18 U.S.C. §
     3142(f) of the Bail Reform Act, the Court orders the above-named
20   defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

21   B.   Statement Of Reasons For The Detention

22        The Court orders the defendant's detention because it finds:

23
            x        By a preponderance of the evidence that no
24                   condition or combination of conditions will
                     reasonably assure the appearance of the defendant
25                   as required.

26          x        By clear and convincing evidence that no condition
                     or combination of conditions will reasonably assure
      Case 2:05-cr-00308-WBS Document 5 Filed 07/13/05 Page 2 of 5


 1                   the safety of any other person and the community.

 2   C.   Findings Of Fact

 3        The Court's findings are based on the evidence which was
     presented in Court and that which was contained in the Pretrial
 4   Services Report, and includes the following:

 5          x        (1) Nature       and Circumstances of the offense
                     charged.
 6
                 x         (a) The crime. Manufacturing 1000 marijuana
 7                                        plants; firearms in furtherance
                                          of drug trafficking offense;
 8                                        felony in possession.

 9               x         (b) The offense is a crime of violence.

10                         (c) The offense involves a narcotic.

11               x         (d) The offense involves a large amount of
                           controlled substances.
12
            x        (2) The weight          of the evidence against the
13                   defendant is high.

14          x        (3)   The   history and characteristics of the
                     defendant including:
15
                     (a)   General Factors:
16
                                 The defendant appears to have a mental
17                               condition which may affect whether the
                                 defendant will appear.
18
                                 The defendant has no family ties in the
19                               area.

20                     x         The defendant has no steady employment.

21                     x         The defendant has no substantial
                                 financial resources.
22
                                 The defendant is not a long time resident
23                               of the community.

24                               The defendant does not have any
                                 significant community ties.
25
                       x         Past conduct of the defendant: Use of
26
                                         2
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 1                               alibi; parole violation.

 2                     x         The defendant has a history relating to
                                 drug abuse.
 3
                       x         The defendant has a significant prior
 4                               criminal record.

 5                               The defendant has a prior record of
                                 failure to appear at court proceedings.
 6
                     (b)   Whether the defendant was on              probation,
 7                         parole, or release by a court;

 8                   At the time of the current arrest, the defendant was
     on:
 9
                                 Probation.
10
                                 Parole.
11
                                 Release pending trial, sentence, appeal
12                               or completion of sentence.

13                   (c)   Other Factors

14                               The defendant is an illegal alien and is
                                 subject to deportation.
15
                                 The defendant is a legal alien and will
16                               be subject to deportation if convicted.

17                               Other:

18          x        (4)   Rebuttable Presumptions

19         In determining that the defendant should be detained, the
           court also relied on the following rebuttable presumption(s)
20         contained in 18 U.S.C. § 3142(e), which the court finds the
           defendant has not rebutted:
21
                           (a)   (1) The crime charged is one described in
22                               § 3142(f)(1)

23                                    (A) a crime of violence; or

24                                    (B) an offense for which the maximum
                                      penalty is life imprisonment or
25                                    death; or

26
                                           3
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 1                                      (C) a controlled substance violation
                                        that has a maximum penalty of ten
 2                                      years or more; or

 3                                      (D) a felony and defendant
                                        previously was convicted of two or
 4                                      more of the offenses described in
                                        (A) through (C) above and
 5
                             (2)   Defendant previously has been convicted
 6                                 of   one  of   the   crimes  listed  in
                                   subparagraph (1)(A)-(C), above and
 7
                             (3)   The offense referred to in subparagraph
 8                                 (2) was committed while defendant was on
                                   release pending trial and
 9
                             (4)   Not more than five years has elapsed
10                                 since the date of conviction or release
                                   from   imprisonment   for  the   offense
11                                 referred to in subparagraph (2).

12                  x        (b)   There is probable cause to believe that
                                   defendant committed an offense for which
13                                 a maximum term of imprisonment of ten
                                   years or more is prescribed
14
                         x         in the Controlled Substances Act, 21
15                                 U.S.C. §§ 801, et seq.,

16                                 the Controlled Substances Act , 21 U.S.C.
                                   §§ 951, et seq.,
17
                                   the Maritime Drug Law Enforcement Act, 46
18                                 U.S.C. App. §§ 1901, et seq., or

19                       x         an offense under 18 U.S.C. §§ 924(c),
                                   956(a), or 2332b.
20
                                   an offense under 18 U.S.C. §§ 1201, 1591,
21                                 2241, 2242, 2244(a)(1), 2245, 2251,
                                   2251A,     2252(a)(1),      2252(a)(2),
22                                 2252(a)(3),   2252A(a)(1),  2252A(a)(2),
                                   2252A(a)(3), 2252A(a)(4), 2260, 2421,
23                                 2422, 2423 or 2425.

24   D.      Additional Directives

25           Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs
     that:
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                                          4
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 1        The defendant be committed to the custody of the Attorney
     General for confinement in a corrections facility separate, to the
 2   extent practicable, from persons awaiting or serving sentences or
     being held in custody pending appeal; and
 3
          The defendant be afforded reasonable opportunity for private
 4   consultation with his counsel; and

 5        That, on order of a court of the United States, or request of
     an attorney for the Government, the person in charge of the
 6   corrections facility in which the defendant is confined deliver the
     defendant to a United States Marshal for the purpose of an
 7   appearance in connection with a court proceeding.

 8
          Dated: July 13, 2005
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10
                                                  /s/ Peter A. Nowinski
11                                                   Peter A. Nowinski
                                                     Magistrate Judge
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